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                                                     U. S. EQUAL EMPLOYMENT
                                                     OPPORTUNITY COMMISSION


                                                      Juan F. Munoz
                                                      Supervisory EO Investigator
                                                      Dallas District Office


                                                                        Telephone:        (214) 253-2774
                               J   I   207 S. Houston St.
                                       3rd Floor                        FAX:              (214) 253-2720
                                       Dallas, TX 75202                 E:          juan.munoz@eeoc.gov
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